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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

 BRIAN HUDDLESTON,                            §
                                              §
                           Plaintiff,         §
                                              §     CIVIL ACTION No. 4:20CV447
 v.                                           §
                                              §
 FEDERAL BUREAU OF                            §
 INVESTIGATION and UNITED                     §     JUDGE AMOS MAZZANT
 STATES DEPARTMENT OF JUSTICE,                §
                                              §
                           Defendants.        §

  JOINT STATUS REPORT REGARDING NEW SEARCHES AND PROPOSED
              PRODUCTION AND BRIEFING SCHEDULE

        Defendant Federal Bureau of Investigation (“FBI”) and Plaintiff Brian Huddleston

file this status report to update the Court on the status of the new FBI searches and to each

propose a new production and briefing schedule.

                 FBI’s Status Report and Proposed Production/Briefing Schedule

        The FBI has completed one of the searches and has located approximately 205

additional pages of potentially responsive documents to be processed. The second search

is ongoing but should be complete within the next few days. The purpose of these additional

searches, as previously explained, is to satisfy some of Plaintiff’s concerns regarding the

adequacy of the FBI’s search, as raised in Plaintiff’s Response to Defendants’ Motion for

Summary Judgment. To the extent that some of the pending issues before the Court can be

resolved through these additional searches, it obviously narrows the issues pending before

the Court and eases the briefing burdens on the parties. The additional searches were not

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meant to satisfy all of Plaintiff’s concerns – there remain issues that the FBI believes can

adequately be addressed in the briefing. The FBI’s agreement to conduct additional

searches in response to Plaintiff’s concerns is a common practice in FOIA litigation, and

in fact, is exactly what Plaintiff has requested. By conducting the additional searches now,

instead of waiting for the completion of briefing and consideration by the Court, the case

is actually accelerated. To the extent that Plaintiff argues that briefing should resume

immediately before processing of the new records is complete, that would require

additional briefing, as opposed to allowing all issues to be fully briefed together, after the

additional documents are processed. Similarly, it would be much more efficient for the

Court to order in camera review of any documents, should the Court deem it necessary,

when all processing and briefing is complete, as is the standard procedure in FOIA

litigation.

        Given the nature of the records located in the additional searches, the FBI will likely

need to examine the potentially responsive records for national security implications and/or

other sensitivities and may need to correspond with any private sector companies who may

wish to protect their information pursuant to FOIA Exemption 4. Furthermore, some of

the records being processed for this litigation overlap with records being processed for a

separate litigation, and those records are slated to be released in the other litigation on May

23, 2022, per the Court-ordered processing schedule in that case. (Transparency Project v.

FBI, 4:20-CV-467, E.D.Tx.) To allow for thorough, efficient reviews and deconfliction of

this processing, an equitable priority of release to both parties, and the other considerations



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explained above, the FBI proposes to complete the processing of the located records on or

before May 23, 2022.

        In light of these considerations, the FBI proposes the following production and

briefing schedule:


        May 23, 2022              Production of all documents located in the new searches,
                                  subject to appropriate FOIA exemptions and withholdings

        June 6, 2022              Plaintiff to identify adequacy of search issues remaining to be
                                  briefed

        June 27, 2022             Defendants’ Reply Brief Deadline

        July 18, 2022             Plaintiff’s Sur-Reply Deadline

                           Plaintiff’s Proposed Production and Briefing Schedule

        As a matter of courtesy, the Plaintiff agreed to a short stay of the briefing schedule,

but there is no need for further delay. The FBI has been stalling and obfuscating since at

least 2018, when the FBI originally denied having any records whatsoever about Seth Rich.

See Plaintiff’s Response in Opposition to Defendants’ Motion for Summary Judgment and

Plaintiff’s Cross Motion for Summary Judgment (Doc. No. 46)(“Cross Motion”) 5, citing

the record. Four years and hundreds of belatedly-produced documents later, and faced with

the Plaintiff’s damning cross-motion for summary judgment, the FBI appears to be engaged

in a “modified limited hangout,” i.e., the FBI gradually dribbles out limited amounts of

additional information in order to buy more time and distract from the larger picture. See,

e.g., Timothy Noah, “Malek’s Fake Penitence: Reporters fall for Fred Malek’s modified




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limited       hangout,”    June     5,    2010     Slate,     https://slate.com/news-and-

politics/2010/06/reporters-fall-for-fred-malek-s-modified-limited-hangout.html.

        In its production thus far, the FBI has fully withheld more than 85 percent of

responsive documents, plus at least one computer disk, while heavily redacting the

documents that it produced. See Motion for In Camera Review (Doc. No. 28) 1. For that

reason, the Plaintiff sought in camera review of all responsive documents. Id. and Cross-

Motion. The issue is ripe for determination, and the FBI has not explained why its belated

discovery of a relatively small number of additional documents should prevent in camera

review of the documents already before the Court. Furthermore, the FBI has refused to

search its email and text messaging systems, and it has refused to explain why it is

unwilling to search emails and text messages. Cross-Motion 8. Finally, the FBI has refused

to produce the computer disk that it withheld, and it has failed to explain why. There is no

reason for the Court to wait an additional three months before reaching those issues (or any

of the other outstanding issues).

        The FBI’s proposed schedule gives the Plaintiff until June 6, 2022, for example, to

“identify adequacy of search issues remaining to be briefed.” There is no need to wait,

however, because the Plaintiff can do that right here and right now. The FBI belatedly

agreed to search the Counterintelligence Division and the Operational Technology

Division. Every other issue in the Cross-Motion still needs to be addressed by the

Defendants. And based on what has happened thus far, it is a certainty that the new

documents found by the FBI will need to be reviewed in camera. Accordingly, the


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production of a small amount of additional documents should not delay this case any

further.



                                      Respectfully submitted,

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